Case 20-12349-JDW        Doc 16     Filed 08/26/20 Entered 08/26/20 13:19:48          Desc Main
                                   Document      Page 1 of 2

____________________________________________________________________________
                                                     SO ORDERED,




                                                     Judge Jason D. Woodard
                                                     United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________


                  IN THE UNITED STATES BANKRUPTCY COURT FOR
                      THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                                      CHAPTER 13 CASE NO.:

KELLY L. LINVILLE                                                      20-12349-JDW

       AGREED ORDER GRANTING MOTION TO IMPOSE AUTOMATIC STAY

        THIS MATTER came before the Court on the Motion to Impose Automatic Stay (Dkt.
#6) (the “Motion”) filed by the Debtor and the Objection to Motion to Impose Automatic Stay
(Dkt. #14) filed by Locke D. Barkley, Chapter 13 Trustee (“the Trustee”). Upon agreement of
the parties,

        IT IS ORDERED that:

        1.      The Motion shall be and is hereby granted. The automatic stay of 11 U.S.C. §
362(a) shall be and is hereby imposed as to all creditors.

        2.      The Debtor must be current in plan payments and have remitted sufficient funds
for disbursement to creditors at the time when the Trustee determines that the case is ready for
confirmation.

        3.      Should the Debtor not be current in plan payments at that time, the Trustee may
give the Debtor (by U.S. Mail) and counsel for the Debtor (by electronic mail) notice of the
amount due (the “Notice”).

        4.      The Debtor shall have fourteen (14) days from the date of the Notice, or such
longer period as may be stated in the Notice, to cure the delinquency. The funds necessary for



                                                 1
Case 20-12349-JDW        Doc 16       Filed 08/26/20 Entered 08/26/20 13:19:48              Desc Main
                                     Document      Page 2 of 2



the cure must be received by the Trustee on or before the date due. If the delinquency is not
timely cured, this case shall be dismissed by subsequent order without further notice or hearing.

       5.      Should the Debtor become sixty (60) days or more delinquent in Chapter 13 plan
payments, calculated from September 1, 2020, this case shall be dismissed by subsequent order
without further notice or hearing.

       6.      Should the present bankruptcy case be dismissed for any reason, the Debtor shall
be prohibited from filing a bankruptcy case in this or any other bankruptcy court for a period of
one-hundred and eighty days (180) days pursuant to 11 U.S.C. § 109(g).

                                      ##END OF ORDER##

AGREED & APPROVED:

/s/ Melanie T. Vardaman
MELANIE T. VARDAMAN
ATTORNEY FOR TRUSTEE

/s/ Jimmy E. McElroy
JIMMY E. McELROY
ATTORNEY FOR DEBTOR




                                                                         Prepared by:
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